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                                                                           IN THE UNITED STATES DISTRICT COURT
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                                                                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                               NUANCE COMMUNICATIONS, INC.,                            No. C 08-2912 MEJ
For the Northern District of California




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                                                               Plaintiff(s),                           NOTICE OF REFERENCE
    United States District Court




                                          12
                                                 vs.
                                          13
                                               ABBYY SOFTWARE HOUSE, et al.,
                                          14
                                                               Defendant(s).
                                          15                                                /

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                                               TO ALL PARTIES AND COUNSEL OF RECORD:
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                                                        The above-captioned case was referred to Magistrate Judge Maria-Elena James for purposes
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                                               of discovery. Please be advised that if a specific motion was filed before the district court prior to
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                                               this referral, the noticed date will no longer be in effect. Rather, the parties shall comply with Judge
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                                               James’ Standing Order Regarding Discovery and Dispute Procedures, a copy of which may be
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                                               obtained from the Northern District of California's website at http://www.cand.uscourts.gov/
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                                               From the homepage, click on the "Judges" tab on the left margin, then choose Magistrate Judge
                                          23
                                               James.
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                                                        Counsel are advised that in regard to any pending discovery disputes, they must comply with
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                                               Judge James’ standing order and meet and confer in person. If the parties are unable to resolve their
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                                               dispute after the meet and confer session, they shall file a joint meet and confer letter. A separate
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                                               letter should be filed for each category of discovery and/or issue in dispute. Upon careful review of
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                                                   Case 3:08-cv-02912-JSW Document 51 Filed 09/23/08 Page 2 of 2



                                           1   the parties’ letter, the Court will either order further briefing, oral argument, or deem the matter
                                           2   submitted on the papers. Accordingly, any pending discovery motions are hereby DENIED
                                           3   WITHOUT PREJUDICE to the filing of a joint letter.
                                           4           Further, when filing papers that require the Court to take any action (e.g. motions, meet and
                                           5   confer letters, administrative requests), the parties shall, in addition to filing papers electronically,
                                           6   lodge with chambers a printed copy of the papers by noon of the next court day following the day
                                           7   the papers are filed electronically. These printed copies shall be marked “Chambers Copy” and shall
                                           8   be submitted to the Clerk’s Office, in an envelope clearly marked with Judge James’ name, case
                                           9   number and “E-Filing Chambers Copy.” Parties shall not file a paper copy of any document with
                                          10   the Clerk’s Office that has already been filed electronically.
For the Northern District of California




                                          11           Please contact the Courtroom Deputy Clerk, Brenda Tolbert, at (415) 522-4708 with any
    United States District Court




                                          12   questions.
                                          13           IT IS SO ORDERED.
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                                          15   Dated: September 23, 2008
                                                                                                           MARIA-ELENA JAMES
                                          16                                                               United States Magistrate Judge
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